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                              UNITED STATES DISTRICT COURT

                                DISTRICT OF SOUTH DAKOTA

                                      CENTRAL DIVISION


  UNITED STATES OF AMERICA,                                        3:23-CR-30022-RAL


                        Plaintiff,

                                                      OPINION AND ORDER PRELIMINARILY
         vs.                                          GRANTING GOVERNMENT'S MOTION
                                                                  IN LIMINE
  TYSON QUIGLEY, a/k/a Tyson Stands,

                        Defendant.




        I. Background

        A grand jury indicted Defendant Tyson Quigley, a/k/a Tyson Stands, ("Quigley") and

 Erwin White Lance ("White Lance") on one count of First-Degree Burglary and one count of


 Brandishing, Using, and Carrying a Firearm During and in Relation to a Crime of Violence. Doc.


 86. The grand jury also indicted Quigley on one count of Prohibited Person in Possession of a


 Firearm. Id. Quigley and White Lance on January 1, 2023, in Todd County, in Indian country


 allegedly unlawfully entered and remained in the residence of Leslie Fool Bull with the intent to

 commit an assault and attempted, threatened, and did physical harm to Bryan Eagle Deer and


 Leslie Fool Bull in violation of various statutes. Id. According to the Superseding Indictment,


 Quigley on the same day possessed a Smith & Wesson pistol despite having a prior felony


 conviction and used and brandished the gun in relation to the alleged burglary. Id.


        Responding to the Fool Bull residence, Rosebud Sioux Tribe Law Enforcement Services


 (RSTLE) officers were told that the two men dressed in black with red bandanas entered the Fool



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 Bull home without permission, that White Lance had a bat and Quigley had a handgun, and that

 the two men left in a gold Chrysler 3000. Doc. 144 at 1-2. Quigley disputes the accuracy and


 reliability of those reports. Doc. 146. A RSTLE officer located Quigley and White Lance at a


 residence outside of which a gold Chrysler Sebring was parked. Doc. 144 at 2. A red baseball bat


 was in the front seat of the car and a handgun was in a seat pocket behind the driver's seat. Id.


        After Quigley and White Lance were arrested. White Lance received a Miranda warning


 and gave a brief statement to RSTLE Special Agent Richard Kumley ("Agent Kumley") while in

 custody at the Rosebud Adult Corrections Facility. This Court listened to a recording of that


 interview at a March 2024 motion hearing. White Lance claimed that he was let in voluntarily to


 the home on January 1, 2023, by Ben Fool Bull, though Ben Fool Bull denies even being there,


 and others apparently would testify that Ben Fool Bull was not there. See Doc. 144 at 3. White


 Lance admitted entering the home but said Quigley was not with him. White Lance then invoked


 his Fifth Amendment right but in his next breath volunteered that he took responsibility for the

 gun recovered from the gold Chrysler. White Lance died during the pendency of this case. Doc.


 128.


        The United States filed a motion in limine to preclude admission of White Lance's


 statements to Agent Kumley. Doc. 143. Quigley opposed the motion in limine. Doc. 146. At the


 March 2024 hearing, this Court heard argument from counsel and preliminarily ruled on the motion


 in limine. This Order formalizes that ruling.


        II. Legal Standard


        Rulings on motions in limine are by their nature preliminary. United States v. Spotted


 Horse, 916 F.3d 686,693 (8th Cir. 2019). They "developed pursuant to the district court's inherent


 authority to manage the course of trials," Luce v. United States, 469 U.S. 38, 41 n.4 (1984), and
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 are "specifically designed to streamline the presentation of evidence and avoid unnecessary


 mistrials," Spotted Horse, 916 F.3d at 693. This practice helps safeguard the jury from hearing


 evidence so prejudicial that its mention could not be remedied through a corrective instmction.


 Motion in limine. Black's Law Dictionary (llth ed. 2019). Rulings on motions in Umine


 necessarily occur before the nature and relevance of the evidence can be placed in full context.


 See Spotted Horse, 916 F.3d at 693. Therefore, a district court has broad discretion when ruling


 on motions in limine and retains the authority to revisit and change its rulings based on how the


 case unfolds. Luce, 469 U.S. at 41-42. If this Court grants a motion in limine to exclude certain


 information, that information must not be mentioned during voir dire, opening statements,


 questioning or answering by witnesses, or closing arguments, unless counsel outside the hearing


 of the jury obtain from this Court a contrary mling.


         III. Analysis

         The United States argues that White Lance's statements to Agent Kumley are hearsay not


 within any hearsay exception. Doc. 144. Under Rule 801(c) of the Federal Rules of Evidence,


 hearsay is a statement that: "(I) the declarant does not make while testifying at the current trial or


 hearing; and (2) a party offers in evidence to prove the truth of the matter asserted in the statement."


 White Lance's statements to Agent Kumley were not made while testifying under oath in this case,


 and Quigley wants to admit White Lance's statements—that Quigley was not at the Fool Bull


 home on January 1,2023, and that White Lance takes responsibility for the handgun—for the truth


 of the matters asserted. Thus, White Lance's statements are in fact hearsay.


         Quigley asserts that White Lance's hearsay statements are admissible under Federal Rule


 of Evidence 804(b)(3) and the residual hearsay exception of Federal Rule of Evidence 807. Doc.

 146 at 5. Rule 804 governs hearsay mle exceptions when the declarant is unavailable as a witness.
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 Having passed away. White Lance obviously is unavailable. Rule 804(b)(3) allows admission of

 a "statement against interest" as a hearsay exception if the statement at issue is one that:


         (A) a reasonable person in the declarant's position would have made only if the
         person believed it to be tme because, when made, it was so contrary to the
         declarant's proprietary or pecuniary interest or had so great a tendency to invalidate
         the declarant's claim against someone else or to expose the declarant to civil or
         criminal liability; and
         (B) is supported by corroborating circumstances that clearly indicate its
         tmstworthiness, if it is offered in a criminal case as one that tends to expose the
         declarant to criminal liability.

         Under Rule 804(b)(3)(A) only those portions of White Lance's statements that are self-

 inculpatory are admissible. Williamson v. United States, 512 U.S. 594, 600-01 (1994) ("Rule


 804(b)(3)... does not allow admission ofnon-self-inculpatory statements, even if they are made


 within a broader narrative that is generally self-inculpatory."). Thus, White Lance's statement that


 Ben Fool Bull voluntarily let him into the Fool Bull house is inadmissible. White Lance's


 statement taking responsibility for the gun was self-inculpatory; he later was charged with carrying


 and using a firearm in a crime of violence and aiding and abetting Quigley in doing so. See Doc.


 86. White Lance's statement that Quigley was not with him when he entered the Fool Bull home


 on January 1, 2023, is at least arguably not directly inculpatory of Wldte Lance, especially


 considering that White Lance implied that he was invited into the home. Thus, at this time, this


 Court views one of the three main statements as inculpatory, one statement as arguably not


 inculpatory, and some statements as actually exculpatory when evaluating at this early time


 whether any of the proposed hearsay statements from White Lance qualify for possible admission


 under Rule 803 (b)(3)(A).

         Admission of hearsay under the statements-against-interest exception requires satisfaction


 of both subparts (A) and (B) of Rule 803(b)(3). Subpart (B) requires "corroborating circumstances

 that clearly indicate [the statement's] trustworthiness, if it is offered in a criminal case as one that
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 tends to expose the declarant to criminal liability." Fed. R. Evid. 803(b)(3)(B). For instance, the


 United States Court of Appeals for the Eighth Circuit has upheld the exclusion of a co-defendanfs

 out-of-court statement exculpating the defendant when there was contradictory evidence about and


 versions of the co-defendant's statements. United States v. Ironi, 525 F.3d 683, 686-87 (8th Cir.


 2008). Before hearing any evidence whatsoever, this Court is poorly situated to detemiine if


 corroborating evidence exists to "clearly indicate" the statement's tmstworthiness. The person to


 whom Quigley made the statement—Agent Kumley—will be the case agent for the United States


 at trial. This Court thus defers until trial, and likely until toward the end of testimony, a final ruling


 on whether any of White Lance's statements qualify for admission under Rule 804(b)(3).

         The residual hearsay exception of Rule 807 allows admission of a hearsay statement "even


 if the statement is not admissible under a hearsay exception in Rule 803 or 804" if


         (1) the statement is supported by sufficient guarantees of tmstworthiness—after
             considering the totality of circumstances under which it was made and
             evidence, if any, corroborating the statement; and
         (2) it is more probative on the point for which it is offered than any other evidence
             that the proponent can obtain through reasonable efforts.


 Fed. R. Evid. 807(a). Admission of an out-of-court statement of an unavailable co-defendant, like


 White Lance, that allegedly is inculpatory seems covered by Rule 803(b)(3). Quigley argues that

 White Lance's statement is more probative on Quigley's lack of presence or involvement with the


 handgun than any other evidence because the alleged victims were intoxicated, unreliable, and


 inconsistent in their statements. Doc. 146. Whether any of White Lance's statements are the sort


 of "near miss" for admission under hearsay mles that merit admission under the residual exception


 is a decision better made at trial. After all, before hearing any evidence a court is ill positioned to


 evaluate whether there are sufficient guarantees of trustworthiness, including corroborating


 evidence, to support admission of White Lance's hearsay statements.
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        IV. Conclusion


        Therefore,it is


        ORDERED that White Lance's in-custody statements to Agent Kumley are not to be


 mentioned during voir dire, opening statements, or witness testimony, unless and until this Court


 outside of the hearing of the jury mles otherwise; thus, the United States's Motion in Limine Re:


 Hearsay Statements of the Co-defendant, Doc. 143, is granted to that extent.




        DATED this 13th day of March, 2024.

                                              BY THE COURT:




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                                              ROBERTO A. LANGE
                                              CHIEF JUDGE
